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                        IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

                 v.
                                                            Case No. 21-cr-117 (RCL)
RYAN TAYLOR NICHOLS,
                        Defendant,

          MOTION FOR LEAVE TO FILE EXHIBIT UNDER SEAL AND AMEND



          Undersigned Counsel respectfully moves this Honorable Court for leave to seal and amend

ECF No. 303 SENTENCING MEMORANDUM’s EXHIBIT C due to the inadvertent disclosure

of personal information. Specifically, Undersigned Counsel respectfully asks that the unredacted

version be sealed and replaced with the redacted exhibit filed as an Errata at ECF No. 304 on the

docket.


Dated: Brooklyn, NY
       April 30, 2024


                                                            Respectfully submitted,

                                                            /s/ Joseph D. McBride, Esq.
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